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                              EXHIBIT 14


                 Excerpts of Deposition of Craig Lee
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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF INDIANA
                          INDIANAPOLIS DIVISION
                      CASE NO. 1:19-cv-2462-JMS-DLP

      JOHN M. KLUGE                                )
                                                   )
                     Plaintiff(s),                 )
                                                   )
             -vs-                                  )
                                                   )
      BROWNSBURG COMMUNITY SCHOOL                  )
      CORPORATION, et al.,                         )
                                                   )
                     Defendant(s).                 )



                    The videoconference deposition upon oral
      examination of CRAIG LEE, a witness produced and
      sworn before me, Brandy L. Bradley, RPR, a Notary
      Public in and for the County of Hamilton, State of
      Indiana, taken on behalf of the Plaintiff at the
      remote location of the witness, Indianapolis, Marion
      County, Indiana, on the 11th day of December, 2020,
      pursuant to the Indiana Rules of Trial Procedure.




                           CIRCLE CITY REPORTING
                         135 N. Pennsylvania Street
                                 Suite 1720
                          Indianapolis, IN 46204
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 BROWNSBURG COMMUNITY SCHOOL CORPORATION, et al.                                                    December 11, 2020
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   1       policies would be. My understanding would be       1      simplify it -- are you aware that Mr. Kluge when
   2       that they would but I am not completely familiar   2      he was employed at Brownsburg professed
   3       with if there was that circumstance what's in 3           sincerely-held religious beliefs against calling
   4       writing, for example. I'm just not completely 4           transgender students by their new transgender
   5        familiar with that, but I would think they        5     names and associated pronouns?
   6        would, but, again, I'm just not completely        6   A That's my understanding.
   7        familiar with what it looks like in writing.      7   Q Did you ever have a conversation with Mr. Kluge
   8   Q     Okay. Do you know if the school has a policy 8         about that?
   9        against discriminating against students or        9   A I only ever had, to my knowledge, one
  10        teachers based on their religious beliefs?       10     conversation with Mr. Kluge. I wouldn't
  11   A     I'm not aware of an exact policy.               11     describe the conversation as being about that.
  12   Q    Okay. Do you know whether or not based on your 12        It was a very brief conversation where Mr. Kluge
  13        experience at the school it accommodates         13      told me that I was -- that God made me a male
  14        individuals with religious beliefs?              14      and that was kind of what I recall the focus of
  15   A     Can I just ask for some clarification with that 15     the conversation being about rather than a
  16        question?                                        16     general say conversation about what you just
  17   Q     Sure. Let's use a hypothetical. Say an          17     described.
  18        individual has a sincerely-held religious        18   Q Do you recall the context of the conversation
  19       belief, perhaps Jewish and they celebrate Yom 19         you're describing, approximately when it
  20       Kippur or Rosh Hashanah and they want what would 20      occurred and where it occurred and how that
  21       otherwise be a normal school day, they want to 21        subject came up in conversation?
  22        have that off in order to celebrate their        22   A I can't remember the dates of the faculty
  23       religious holiday. Do you know if the school 23          meeting. It was after -- it was towards the end
  24        provides for that?                               24      of the meeting and, again, I can't remember when
  25   A     I am not familiar with what the school's policy 25      the meeting was but it was a faculty meeting and

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   1     is relating to that.                                1       I think it was right at the end of the faculty
   2   Q Okay. You're aware, I believe -- tell me if         2       meeting, and I don't remember a huge amount
   3       you're not -- that Mr. Kluge who was formerly 3           about the conversation other than pretty much
   4       employed by Brownsburg High School had a 4               what I just described.
   5       sincerely-held religious belief against           5    Q Were you also aware that the school provided
   6       referring to transgender students by their new 6         Mr. Kluge with an accommodation for his
   7       transgender name. Do you understand that? 7               religious beliefs that involved using last names
   8           MR. LANOSA: Objection to form.                8       only for students?
   9           MR. CORK: You may answer.                     9          MR. LANOSA: Objection to form.
  10           THE WITNESS: I didn't quite hear what the 10       A My understanding was that Mr. Kluge wasn't using
  11       objection was. Can you repeat that?              11      his students' first names. I didn't know the
  12           MR. LANOSA: I just objected to the form of 12        details or what the discussions involved that
  13       the question.                                    13       related to him doing that. I wasn't present for
  14           THE WITNESS: Oh.                             14      those discussions.
  15           MR. LANOSA: You can answer or you can ask 15       Q Okay. Assuming, if you will, please, that such
  16       him to repeat it if you need him to.             16       an accommodation existed for Mr. Kluge or for
  17           THE WITNESS: Mr. Cork, will you repeat the 17         that matter any other teacher with similar
  18       question, please.                                18       sincerely-held religious beliefs involving
  19   Q    I will, yes. And if your counsel objects, as he 19       transgender students and the use of transgender
  20       might during the course of the deposition, 20             names, do you believe that that would be a
  21       unless he instructs you not to answer based on 21         reasonable accommodation for all involved, using
  22       some privilege or for another reason, you're 22           last names only?
  23       able to respond.                                 23           MR. LANOSA: Objection to form.
  24   A    I understand, yeah.                             24    A It's our responsibility as teachers to make our
  25   Q    Okay. My question was -- and I'll try to        25      students feel safe and comfortable in our

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   1      classroom and I think that that's a priority and    1   Q You're familiar with an entity that I described
   2      that should always be a priority and Mr. Kluge's    2      or I named earlier Indiana Youth Group, Inc.;
   3      students were not being made to feel that way,      3     correct?
   4      quite the opposite. That's my understanding         4   A Yes.
   5      based on what you just described.                   5   Q How did you first become acquainted with that
   6   Q Students were not being made to feel comfortable     6     entity?
   7     in their classroom by the teacher referring to       7   A I think it was maybe our first year or second
   8     all of them by their last names?                     8      year running as a club and a man called Graham
   9   A That what you described as policy was causing a      9      Brinklow, he used to be the I understood like
  10      huge amount of emotional distress and harm to at   10      the head of Indiana Youth Group. He reached out
  11      least two of the students that he had in           11      to me, I think, because he learned that we had
  12      classes.                                           12      just started this club and basically wanted to
  13   Q Were those two students transgender students to     13      offer to support or come in and present. That,
  14     the best of your knowledge?                         14      to my knowledge, is the first time that I think
  15   A Yes, and also a student who I had a conversation    15     he reached out to me.
  16      with who did not identify as LGBTQ who was a       16   Q Are you involved with Indiana Youth Group staff
  17      student in Mr. Kluge's class that told me he       17     on a regular basis during the course of the
  18      felt uncomfortable and other students did, too,    18     school year?
  19     because of this name policy.                        19   A Do you mean me personally?
  20   Q In addition to your duties as a government and      20   Q Yes, correct.
  21      sociology teacher at the school, you have also     21   A I don't have many interactions with Indy Youth
  22      been a faculty advisor for a club by the name of   22      Group. There may be or may have been over the
  23     the Equality Alliance Club; is that right?          23      years an exchange of e-mails, but there was a
  24   A Yes, I guess the title is a sponsor. The club       24      year when we were invited to present at an
  25      was called the Gay-Straight Alliance Club for      25      annual event, but, so, other than that, there

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   1      about four or five years and then it changed its    1      isn't what I would describe as a huge amount of
   2      name to Equality Alliance and, with the             2      communication.
   3      exception of one year, I have been the sponsor.     3   Q I have read that Indiana Youth Group is referred
   4   Q What difference do you make between the              4     to as an affiliate of Parents, Friends, and
   5      description I used faculty advisor and sponsor?     5      Families of Lesbians and Gays which goes by the
   6      Is there any or just semantics?                     6     acronym PFLAG. Are you aware of that?
   7   A One of the roles at school is I sit on something     7   A IYG? I wasn't familiar with that. If you said
   8      called the Faculty Advisory Committee which         8     IYG, that's what I refer to them as, IYG.
   9      basically I'm a union representative and we         9   Q Okay. Indiana Youth Group, IYG, is described in
  10      regularly meet with the principal, and, so, when   10     some material I've seen as an affiliate of
  11      I hear the words "faculty advisor," I think I      11     another organization called Parents, Friends,
  12      tend to automatically think of being a faculty     12     and Families of Lesbians and Gays. Are you
  13      advisory representative. And my position, my       13     aware of that?
  14      understanding of since, well, from when I first    14   A I am not familiar with that relationship that
  15      sponsored the club was the club sponsor, so        15     they have.
  16      that's why I kind of separate the two.             16   Q Are you familiar with the entity Parents,
  17   Q Okay. As the sponsor of the Equality Alliance       17     Friends, and Families of Lesbians and Gays?
  18     Club, what are your duties?                         18   A It's possible that at some point I was aware of
  19   A To really make sure that the club meetings are      19     it but right now I'm not familiar with them.
  20      organized and run in a smooth fashion and if the   20   Q Have you ever been employed by Indiana Youth
  21      students who lead the club have questions or       21     Group?
  22      need help with something in the club, I'm there    22   A No.
  23      to basically assist them. That's how I have        23   Q Have you ever been in any kind of an independent
  24      seen my position as the sponsor of that club       24     contractor relationship with Indiana Youth
  25      over the years.                                    25     Group?

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   1   A As far as relationship goes, like what I just         1      knowledge, remember like a donation as such.
   2       described where our club once did a presentation    2   Q Have you ever contributed money or time or
   3       at Indy Youth Group and there have been some        3     anything to Indiana Youth Group?
   4       occasions where a representative or somebody        4   A When our club did a presentation that I
   5       working for Indy Youth Group has come to our        5     supported them with and interacted -- I
   6       club, I would say that's the extent of the          6     interacted with I think it was Graham at the
   7       relationship.                                       7      time at the club -- of Indy Youth Group, sorry,
   8   Q Have you ever volunteered for Indiana Youth           8      I would consider that to be kind of spending my
   9     Group in any capacity?                                9      time like interacting with them, but I never
  10   A I have not volunteered for them.                     10      volunteered or worked for them as such but I did
  11   Q Have they ever provided you with anything of         11      spend time talking to organize our presentation,
  12       value, whether monetary or otherwise tangible or   12      for example.
  13     intangible, for any reason?                          13         MR. CORK: I understand. Diana, could you
  14   A I would describe their support particularly in       14      put Exhibit 35 on the screen, please.
  15       the early days of when it was the Gay-Straight     15   Q Diana is going to make available on your screen
  16       Alliance as being very valuable. The               16      an exhibit and then she will give you control of
  17       conversations I had with Graham Brinklow, I        17      the document so that you're able to scroll
  18       don't know -- I can't remember how long he         18      through it.
  19       worked for Indy Youth Group but he was somebody    19         This Exhibit 35 is a document, a pleading
  20       who over the years I may have e-mailed a           20      actually, that was filed in this lawsuit earlier
  21       question or questions, but he just best kind of    21      and it is titled Declaration of Craig Lee in
  22       just being there to answer those questions if      22      Support of Indiana Youth Group, Inc.'s Motion to
  23       they could or when they invited us to do a         23      Intervene as Defendant. Take a moment to scroll
  24       presentation or when Graham came in to present     24      through the document because it's multiple pages
  25       and talk to our club along with another            25      and tell me if you are familiar with this.

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   1       representative they had, I considered that to be   1    A Is there a way that this can be made bigger?
   2       of significant support.                            2    Q Yes. If you go up to the top, if you see the
   3   Q    Has Indiana Youth Group ever provided you with    3      circles, one with a minus, one with a plus.
   4        anything of value, you individually?              4    A Oh, yeah. Okay.
   5   A     As the sponsor of the club, I guess I would say 5     Q There you go.
   6        that -- when I say "we," the club, I would        6    A Okay.
   7       consider myself to be a part of that entity, but 7      Q And you figured out how to scroll through it,
   8       on an individual basis when there has been an 8           so --
   9       exchange of e-mails about something, I mean, I 9        A Okay. I think I'm done. I'm just going to read
  10        would describe that as support and being         10      the first bit just one more time.
  11        valuable.                                        11    Q Okay. Take your time.
  12   Q     Right, I understand. Has Indiana Youth Group 12       A Okay. I have read that document.
  13       ever provided the Equality Alliance Club or you 13      Q Are you familiar with the document?
  14       individually with anything other than support 14        A I am.
  15       that you would consider to have some tangible 15        Q The document appears to have your signature on
  16       value, in other words, money or something like 16         the fifth page dated October the 2nd of 2019.
  17        money, something of value?                       17      Is that indeed your signature?
  18   A    I can't recall money but when Graham would come 18     A It is, yes.
  19        and present to the club, that I considered or 19       Q And it was signed under the penalty of perjury.
  20       the things that he would discuss or present to 20         You signed it on the date indicated?
  21       students or discussing some of the things that 21       A Yes.
  22       Indy Youth Group does, I really consider that to 22     Q How did you come about submitting or signing
  23        be of great value to the kids in the club and 23         this declaration in support of Indiana Youth
  24        for me to know about that stuff. I consider 24            Group's motion to intervene? Did you volunteer
  25        that to be valuable, but I can't, to my          25       or were you requested?

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   1   A I can't recall the exact circumstances or            1    Q Okay. In any event, nobody paid you for your
   2       conversation and with whom it took place with as   2      declaration; right?
   3       being why I specifically signed this document. 3        A No.
   4       I understand to receive representation where I 4        Q Do you recall whether you drafted the
   5        am now, that was a part of that process, so I 5           declaration or whether someone else drafted it
   6        guess that would be my answer, to have            6      for your signature?
   7        representation as counsel.                        7    A I did not draft this declaration.
   8   Q     Indiana Youth Group is and was at the time 8          Q I presume that you reviewed it before you signed
   9        represented by the firm that represents you       9      it; right?
  10       today, Covington & Burling, and Brownsburg is 10        A Yes.
  11        and was represented by a firm and, more          11    Q And did you believe it to be accurate when it
  12        specifically, Attorneys Brent Borg and Alex 12           was signed?
  13       Pinegar, the firm Church Church Hittle & Antrim. 13     A Yes.
  14       Did you have conversations with either or both 14       Q And do you still find it accurate?
  15        of those firms about this declaration?           15    A I do. I do. It was some time ago that I signed
  16            MR. LANOSA: I caution the witness if you 16          it and at the time, absolutely, yes, I
  17        can answer yes or no.                            17      considered it to be accurate and I still do.
  18   Q    I'm not asking you about the substance of your 18      Q If I could direct your attention to the second
  19        conversations, just whether you had              19      page of the declaration, Paragraph 4. It
  20        communication with counsel about the             20      states, "The Equality Alliance is a club that
  21        declaration.                                     21       gathers on a weekly basis to discuss issues that
  22   A    I can't remember the specific person I talked to 22       impact the LGBTQ community, and also serves as a
  23       but I remember having conversations relating to 23         safe space for students who identify as LGBTQ."
  24       Indy Youth Group's rep -- how they are or who 24           What did you mean by a "safe space for
  25        would represent them and myself.                 25       students"?

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   1   Q During the course of this litigation have you         1   A It's an environment where students can be open
   2       had communication with attorneys? And, again,       2     with regard to conversation, who they are.
   3       I'm not asking you about the substance of the       3      There have been a lot of times in the past where
   4       communications, just whether or not you have        4      LGBTQ students are being bullied by other
   5       communicated with attorneys from Covington &        5      students at school and it's an environment where
   6       Burling and also Church Church Hittle & Antrim.     6      those kids don't have to be concerned about
   7   A Yes.                                                  7      sharing or discussing certain topics and fearing
   8   Q Okay. Did anyone offer you anything of value          8      any kind of like bullying or anything like that.
   9     for providing this declaration?                       9     That's what I mean by a safe space.
  10   A Can you describe what you mean by anything of        10   Q Okay. Where does the club meet?
  11       value? Being represented, I consider that to be    11   A Usually it meets in my classroom. Over the last
  12       a value, but if that's what you mean, then being   12      few years we have had kind of two sponsors and
  13       represented, yes.                                  13      so sometimes the club has met in a different
  14   Q You're being represented today but unless -- let     14      teacher's room and there have been periods where
  15       me ask it a different way. When you were asked     15      we have had so many people attend the meetings
  16       to provide the declaration or when you             16      that we have had to host them in other rooms
  17       volunteered, whichever the case may be, did you    17      that were large enough to accommodate them but
  18       do so because someone told you or suggested that   18     usually my classroom.
  19       if you became involved or had to sit for a         19   Q In Paragraph 4 you refer to the number of
  20       deposition that they would represent you?          20      students who attend the Equality Alliance Club,
  21   A I can't remember the specific conversation that      21     anywhere from 12 to 40; is that right?
  22     took place. Again, I think it was, if I recall,      22   A Yes.
  23     I think that there was something to do with it       23   Q And you say there are at least four transgender
  24     but I cannot remember those specific                 24      students at Brownsburg High School who attend
  25     conversations.                                       25      the meetings on a regular basis. The four

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   1      transgender students who attend, this was back      1     That's what we used to be, yeah.
   2     in 2019; right?                                      2   Q Okay. This is your sworn declaration.
   3   A Yes.                                                 3   A Yeah, yeah, the Gay-Straight Alliance, yes.
   4   Q Okay. And the transgender students who attended      4   Q Paragraph 6 you indicate that during the 2017
   5      at that point in time I would assume to be Sam      5      and '18 school year you heard students discuss
   6      Willis and Aidyn Sucec and a couple others; is      6      how they were being treated in orchestra class
   7     that right?                                          7      or by the orchestra teacher and, based on your
   8   A It's changed over time. There have been              8      statement, nobody identified Mr. Kluge per se
   9     different transgender students that have             9      but you assumed that's who they were referring
  10      attended the meetings. I know that Aidyn left      10     to; right?
  11      the school at some point and so I can't remember   11   A That is correct.
  12      the date when Aidyn like left the high school so   12   Q Do you recall what students discussed how they
  13      it's possible that for a period there were         13      were being treated in orchestra class or by the
  14      different transgender students present and it      14     orchestra teacher?
  15      wasn't necessarily say him.                        15   A Aidyn Sucec and Sam Willis were the ones that
  16   Q Okay. Aidyn used to attend and you're familiar      16     described that during the meetings.
  17      with a transgender student or you were familiar    17   Q Okay. And those are both transgender students;
  18      with a transgender student by the name of Sam      18     right?
  19     Willis; right?                                      19   A Yes.
  20   A Yes.                                                20   Q In Paragraph 7 it refers to Mr. Kluge's behavior
  21   Q And did Sam Willis also attend the Equality         21     being a frequent topic of conversation during
  22     Alliance Club?                                      22      the Equality Alliance meetings. By frequent, do
  23   A Yes.                                                23     you mean weekly?
  24   Q Do you recall the names of the other two            24   A Yes, pretty much, yes. I can't -- yes.
  25     transgender students?                               25   Q And, again, it refers to students in Mr. Kluge's

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   1   A I can't.                                             1      class saying that they found not being called by
   2        MR. CORK: Can we take a quick break? I            2      their first names to be insulting and
   3     need to catch the door for a second.                 3      disrespectful. Were these the same two students
   4        MR. LANOSA: Sure.                                 4     you just identified?
   5        (A recess was taken.)                             5   A Sam and Aidyn, yes.
   6   DIRECT EXAMINATION CONTINUING,                         6   Q Any other students?
   7     QUESTIONS BY MICHAEL J. CORK:                        7   A I can't recall any other students specifically
   8   Q We are back on the record and you understand,        8      talking about the -- who are transgendered being
   9     Mr. Lee, that you are still under oath; right?       9     made to feel like Aidyn and Sam were.
  10   A Yes.                                                10   Q And you go on to state in Paragraph 7 that the
  11   Q Exhibit 35 we were discussing before we took a      11     students felt like it was their presence that
  12     break and I was asking you questions about          12     caused Mr. Kluge's behavior.
  13      Paragraph 4. The next paragraph, Paragraph 5,      13   A Yes.
  14      refers to Equality Alliance as a member of the     14   Q That would be the same students, Aidyn and Sam?
  15      Indiana GSA Network administered by the Indiana    15   A Aidyn and Sam, yes.
  16      Youth Group. What is, to the best of your          16   Q And toward the end of Paragraph 7 you state that
  17      knowledge, the GSA Network and how is it           17     "These students also felt like it was their
  18      administered by Indiana Youth Group?               18      presence that caused Mr. Kluge's behavior, which
  19   A My understanding is that it includes different      19     made them feel isolated and targeted."
  20     schools or potentially organizations that are       20   A Yes.
  21     members of this network. That's my                  21   Q Is that your description, "isolated and
  22     understanding.                                      22      targeted," or did the students use those words?
  23   Q What exactly is the GSA Network? That's             23   A The students expressed how they were being -- at
  24     Gay-Straight Alliance; is that right?               24     the meetings. It was clearly visible the
  25   A I think, yeah, that would be my assumption here.    25      emotional distress and the harm that was being

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   1       caused towards them. It was very, very clear,      1    A Dr. Jessup attended one of the Equality Alliance
   2       and, so, that was clear for everyone to see but    2       meetings and my understanding was that based on
   3        that is also what they described as well.         3       what she witnessed at the meeting from listening
   4   Q     And you indicate that you relayed the students' 4        to Aidyn and Sam talk amongst other students as
   5       concerns to the principal at Brownsburg High 5             well that some kind of process would have been
   6        School. That would be Dr. Daghe; right?           6      followed, yes.
   7   A     Correct, yes.                                    7    Q But do you know for a fact whether an
   8   Q     And you also relayed the students' concerns to 8        investigation was initiated?
   9       the assistant superintendent of the Community 9         A I don't know exactly what Dr. Jessup or
  10       School Corporation who is Kat, Kathryn Jessup; 10         Dr. Daghe did afterwards.
  11        correct?                                         11    Q Were you ever contacted by an employee by the
  12   A     Yes.                                            12       name of Dezarn-Lynch who is the compliance
  13   Q    And did you identify the students who complained 13       officer for the EEO Nondiscrimination Policy?
  14        to Dr. Daghe and Dr. Jessup?                     14    A Can you repeat that name, please.
  15   A     I don't recall specifically telling them it was 15    Q Sure. Are you familiar with a woman by the name
  16       Aidyn and Sam but my assumption was that they 16          of -- her first name escapes me -- last name
  17       absolutely knew that it was Aidyn and Sam. And 17          Dezarn-Lynch? She is the so-called compliance
  18       (inaudible) that at some point I was asked who 18          officer at Brownsburg Community School
  19       the students were. I just can't remember word 19           Corporation under the EEO, the Equal Employment
  20       for word, but, yes, that may well have happened 20        Opportunity Nondiscrimination Policy?
  21       but my assumption was that they absolutely knew 21      A The name sounds familiar but I cannot recall
  22        who the students were as well.                   22      specifically talking to her, but, again, I just
  23   Q     Was it your interpretation that Aidyn and Sam, 23       can't remember.
  24       Aidyn Sucec and Sam Willis, felt as if they were 24     Q If she spoke to you as a result of a complaint
  25        being discriminated against by Mr. Kluge? 25             being filed on behalf of the students Aidyn

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   1   A I wouldn't describe it so much as an                  1      Sucec or Sam Willis, it would have been in
   2     interpretation. It was just very, very clear at       2      conjunction with an informal or formal
   3       the meetings to see how much emotional harm was     3      investigation of discrimination and, from what
   4     being caused towards Sam and Aidyn. It was            4     you said, I take it that never happened;
   5     clear for everyone at the meetings just to see        5     correct?
   6     how much of an impact it was having on them.          6   A I can't remember. I'm not saying it didn't
   7      So, when I say like I wouldn't call it an            7     happen. I just can't -- over the course of a
   8      interpretation, I mean, it was so clearly            8      year I have so many conversations with so many
   9      visible that I don't feel like there was             9      different people related to school like classes
  10      anything to necessarily interpret.                  10      or parents and so I'm not saying I didn't. I'm
  11   Q What time frame did you communicate this             11      just saying I can't remember if I did.
  12     information to Dr. Daghe and Dr. Jessup? Was         12   Q Okay. But what you do remember is communicating
  13      this in 2017, 2018?                                 13      the concerns of Aidyn Sucec and Sam Willis to
  14   A There was a conversation I had with Dr. Jessup       14     Dr. Daghe and Dr. Jessup and you left it in
  15     at a school event and I can't remember the date      15     their hands; right?
  16     of that conversation and there was a meeting, a      16   A Yes.
  17     faculty advisory meeting, where it was shared        17   Q And in Paragraph 8 you say, "Multiple times the
  18     with Dr. Daghe and I think that meeting was at       18     Equality Alliance members mentioned that
  19      the end of August in the 2018 year, I think         19      Mr. Kluge would occasionally slip up and use
  20      '17/'18, but, again, I can't remember when it       20      first names or gendered honorifics rather than
  21      was that I had that conversation with               21      last names and some students felt that Mr. Kluge
  22      Dr. Jessup, the specific date.                      22      avoided acknowledging transgender students who
  23   Q After you communicated that information to           23      raised their hands in class." Are you referring
  24       Dr. Daghe and Dr. Jessup, to your knowledge, did   24      to the same students, Aidyn Sucec and Sam
  25       either of them initiate an investigation?          25      Willis?

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   1   A Yes.                                                 1   Q Did anyone in the Brownsburg School
   2   Q Are you referring to anyone besides those two        2      Administration ever communicate to you why
   3     students?                                            3     Mr. Kluge was using last names?
   4   A I can't recall the content of every conversation     4   A I can't recall the specific content of a
   5      surrounding Mr. Kluge and him not calling on        5      conversation. It's possible when I was talking
   6      students. It's possible that there were other       6       to Mrs. Jessup or Dr. Daghe that that was
   7      students at some of the meetings who had been in    7      detailed. It was definitely my understanding
   8      his class who had observed it and said that it      8       that it related to his religious beliefs, and,
   9      did happen, but, again, I can't remember so I'm     9       so, at some point that had been relayed so I
  10      not going to categorically say it was just them    10      just can't remember specifically who but it had
  11      two. It's possible that someone else may have      11       been at some point relayed to me.
  12      been at a meeting and shared that and that I       12   Q That Mr. Kluge was using last names based on his
  13      just don't remember.                               13     sincere religious beliefs?
  14   Q You can't recall any additional students besides    14   A That was my understanding.
  15     Aidyn and Sam as we sit here today; right?          15        MR. LANOSA: Objection to form.
  16   A Correct.                                            16   A Can you repeat that question again, please.
  17   Q Paragraph 9 refers to one student who was not a     17   Q Oh, okay. I thought you had answered.
  18      member of Equality Alliance but was in one of      18   A Sorry.
  19      Mr. Kluge's classes, an orchestra class. He or     19   Q You said it was your understanding that
  20      she approached you regarding Mr. Kluge's use of    20      Mr. Kluge was using last names based on what he
  21      last names. Do you recall who that student was?    21     professed to be his sincerely-held religious
  22   A I can't remember the student's name.                22     beliefs; is that right?
  23   Q At the time that you signed this sworn              23   A That was my understanding.
  24     declaration in October of 2019, do you know         24   Q Okay. There appears to have been a difference
  25      whether or not you knew what student that was?     25     at the school in how they communicated

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   1   A I did not recall who the student was.                1      accommodations for transgender students and an
   2   Q You say in Paragraph 9 again the student was         2      accommodation for a teacher with professed
   3      fairly certain that all students knew Mr. Kluge     3      sincerely-held religious beliefs. And by that I
   4      had switched to using last names and that it        4      mean the transgender accommodations that we
   5      made the transgender students in the orchestra      5      discussed earlier such as using the bathroom of
   6      class stand out. Were you referring to the          6      their choice and dressing as they chose and
   7      student believing that Mr. Kluge was using last     7      changing first names and pronouns, dress, those
   8      names as an accommodation for his religious         8      were all communicated very openly regarding
   9      beliefs regarding transgenderism?                   9     transgender students; right?
  10         MR. LANOSA: Objection to form.                  10         MR. LANOSA: Objection to form.
  11   A Can you repeat that question, please, Mr. Cork.     11         MR. BORG: Same objection.
  12   Q When you say that this unidentified student said    12   Q Can you answer?
  13      that he found Mr. Kluge's use of last names very   13   A That I wouldn't necessarily describe as being
  14      awkward, was the student referring to              14     relayed like clearly. The understanding was
  15      Mr. Kluge's use of last names based on the         15     that, yes, those students would be treated the
  16      student's belief that he was using it simply to    16      same as other students, nontransgender students,
  17      avoid referring to transgender students by their   17     and that those accommodations were made.
  18     first names?                                        18   Q Right. I was referring to accommodations for
  19   A Yeah, him using their last names, yeah, as          19      all transgender students. The accommodations
  20     detailed there, yes.                                20      that the school provided for transgender
  21   Q Okay. And this unidentified student apparently      21      students were communicated openly to teachers
  22      told you there were other students who felt this   22     and employees; right?
  23      way as well. Are you able to identify any of       23        MR. LANOSA: Objection to form.
  24     these other students?                               24        MR. BORG: Same objection.
  25   A I am not.                                           25   A I can't recall there being say like a meeting

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   1      where the administration as you described like       1      or did you talk to your counselor or did you say
   2      clearly detailed what these students could do        2      something to the teacher. And, quite often, if
   3      but it was relayed to us. I just can't               3      it say it happens during a class, there have
   4      specifically remember what that process was when     4      been times when a student has said "I got called
   5     they did it.                                          5      a homophobic slur" and I'll say, "Well, when did
   6   Q The accommodation, the last-names-only                6      it happen?" They'll say during a particular
   7      accommodation provided to Mr. Kluge, on the          7      class. And then my question would be, "Well,
   8      other hand, was not clearly communicated to you      8      did the teacher know? Did you share that with
   9     as a teacher; right?                                  9      the teacher?"
  10         MR. LANOSA: Objection to form.                   10         So it varies from kind of person to person
  11   A I can't remember a date or who the specific          11      and so I would have asked those questions and it
  12     person was and what they specifically said           12      could have been that the student said, well, I
  13     relating to Mr. Kluge and him not using              13      told the teacher, the teacher spoke to the other
  14     students' first names but it was relayed to me       14      student. It could be that they -- I can't
  15     at some point that it related to his -- my           15      remember with this specific student what that
  16     understanding was it related to his religious        16      conversation was in terms of who they spoke to
  17     beliefs.                                             17      afterwards, but it tends to vary depending on
  18   Q How was that communicated to you and who do you      18      the circumstance or I should say where it
  19     recall communicating it to you?                      19      happened or when it happened and I can't
  20   A I can't recall the specific like who it was or       20      remember with that specific student.
  21     how it was or when it was.                           21   Q When the events you describe in Paragraph 10 of
  22   Q I've seen e-mails that were sent by                  22     Exhibit 35 occurred, did you ever report them as
  23     administrators, counselors at Brownsburg             23     discrimination to the compliance officer named
  24      Community School Corporation, to teachers and       24     in the school EEO and Nondiscrimination Policy?
  25      other administrators regarding transgender          25   A Are you referring to the student where I say at

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   1      students and new names, et cetera. To my             1      one of the most recent meetings that the student
   2      knowledge, there was no such e-mail regarding        2     complained? This is the student you're
   3      Mr. Kluge's accommodation. Do you recall ever        3     referring to; right?
   4     seeing one?                                           4   Q Any of the students who reported to you that
   5   A I can't recall seeing one.                            5     they were called homophobic slurs by other
   6   Q In Paragraph 10 you state in relevant part that       6      students. I'm just asking when that occurred if
   7      the Equality Alliance members would report being     7      you reported it to administration and/or
   8      called homophobic slurs by other students on a       8      reported it directly to the nondiscrimination
   9      fairly regular basis and that at one of the more     9      compliance officer.
  10      recent meetings a student complained that           10         MR. LANOSA: Objection to form.
  11      another student had called him a homophobic         11   A I can't remember with every specific student who
  12      slur. Do you recall who reported that to you?       12     I reported it to. It depended on the
  13   A This is something that's happened a lot over the     13     circumstances and so I just can't remember
  14      years, less now, much less now than it used to      14      specifically with each time it's happened who I
  15      be, and so I can't remember who the specific        15      would have reported it to or if I had reported
  16      student was that reported that, though, at that     16      it or if it was dealt with by a teacher or
  17      recent meeting that I described.                    17      already in the process of being dealt with which
  18   Q You said initially that members reported being       18     is also possible.
  19     called homophobic slurs and that a single            19   Q If it had been reported to the nondiscrimination
  20      student complained more recently about similar      20      compliance officer, there would be a record of
  21      treatment. When that happened, did you ever         21     that, wouldn't there?
  22      report it to the administration, Dr. Daghe or       22   A I'm not familiar with what that process is with
  23      Dr. Jessup?                                         23      the nondiscrimination officer, I think you said,
  24   A When a student reports something like this, then     24      and so I just don't know what that exact process
  25      my question to them is what happened afterwards     25      is.

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   1   Q Have you ever reported a matter of potential         1   A I would disagree. At the meetings seeing two
   2     discrimination to the compliance officer?            2      kids so deeply upset and so distressed and just
   3   A I can't recall having a specific conversation        3      so emotionally harmed by this, I wouldn't say
   4     with this compliance officer. I just can't           4      layman's. It was abundantly clear to anybody at
   5     remember.                                            5      the meetings how much emotional distress and
   6   Q Okay. When these students made expressed             6     pain it was causing Aidyn and Sam.
   7      concerns about Mr. Kluge, did you ever approach     7   Q But that's your interpretation as a layperson
   8      him and have a conversation about this student's    8     and not a professional; correct?
   9      concerns, what they told you and his use of last    9        MR. LANOSA: Objection to form.
  10     names?                                              10        THE WITNESS: Can I just ask a question?
  11   A I can't recall -- when you described students,      11      When you object it kind of in my headphones when
  12     it sounded like you were saying specifically        12      you say what the objection is, I don't hear that
  13     talking about Mr. Kluge. They were talking          13      abundantly clear. I feel like I should be able
  14     about their experiences in the orchestra class,     14      to and it's important that I should and so it
  15      how they were being harmed by him. We have a       15      just is kind of not incredibly clear.
  16      policy of not using teachers' names if something   16          MR. LANOSA: Okay. I can try to speak
  17      comes up at a meeting. I don't recall ever         17      louder for you. Sorry about that. Objection to
  18      talking to Mr. Kluge or approaching him to talk    18      form of the question.
  19     to him about this.                                  19         THE WITNESS: Okay. Thank you. So, I'm
  20   Q In Paragraph 11, the last paragraph of your         20      sorry, I thought I needed to say that. Can you
  21     sworn declaration, you identify Aidyn Sucec         21     repeat the question, Mr. Cork?
  22     specifically and the fact that Aidyn was            22   Q Let's strike that question. You were engaged in
  23      publicly known to be transgender and you say       23     a narrative anyway not responsive to my
  24      that Aidyn was deeply hurt by the way Mr. Kluge    24     question.
  25      treated him but you don't indicate that Aidyn      25        You've already confirmed that you don't

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   1      was one of the students that you were referring     1     have any formal training in psychology or
   2      to in other parts of your sworn declaration and     2     psychiatry; correct?
   3      you have today made that connection. Is there       3   A That is correct.
   4      any other student that you would reference or       4   Q So you don't have any professional basis to
   5      any other students besides Aidyn and Sam as         5     diagnose a student or anyone else as deeply
   6     allegedly being deeply hurt?                         6     emotionally hurt?
   7   A Aidyn and Sam who were in Mr. Kluge's class,         7        MR. LANOSA: Objection to form.
   8      they shared regularly at the meetings that they     8   A As a teacher it's one of the things that you
   9      were deeply impacted by him but I can't name        9     learn as a teacher is being able to tell when
  10      another student who was in his class who is        10      your students are upset or are suffering in one
  11      transgender.                                       11      way, shape, or form and it could be for a number
  12   Q Aidyn and Sam's main concern was the fact that      12      of different reasons. Although we don't receive
  13      Mr. Kluge wouldn't address them by their new       13      like the training like you just described, when
  14     transgender first name; right?                      14      you teach you can often tell when students are
  15   A I wouldn't describe it as a concern. I would        15      upset, distressed by something, and it's your
  16     describe it as they were just really harmed         16     responsibility to kind of interact with that
  17      emotionally by Mr. Kluge not calling them by       17     student to some degree to --
  18     their name, deeply emotionally hurt.                18   Q If I understand -- and you're engaged in a
  19   Q Have you had any formal training in psychology      19      narrative that's not responsive to my question.
  20     or psychiatry?                                      20      My question is simply for you to confirm that
  21   A I have not.                                         21      you don't have any professional basis to make a
  22   Q So, when you make this claim that these students    22     diagnosis like that. Either you do or you
  23     were deeply emotionally hurt by Mr. Kluge,          23     don't.
  24     that's not based on anything other than a           24        MR. LANOSA: Objection to form.
  25     layman's opinion; right?                            25   A I guess I see as a teacher the ability to tell

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   1     when someone is upset. It's very, very clear.        1     the question more clearly.
   2   Q Okay. I understand your experience as a teacher      2   Q Firsthand knowledge would be something that
   3     and not any professional training.                   3     viewed, you participated in. If you never
   4   A Not professional psychology training that you        4      attended one of Mr. Kluge's classes where the
   5     described.                                           5      things that Aidyn Sucec and Sam Willis alleged
   6   Q Okay. Very good. That was simple. And the            6      occurred, then you don't have any firsthand
   7     reason that you perceived these two students,        7      knowledge of it. You're just going on what they
   8      Aidyn Sucec and Sam Willis, to be emotionally       8      told you.
   9      hurt was the fact that a teacher would not use      9         MR. LANOSA: Objection to form.
  10      their new transgender first names; correct?        10   A I observed and participated in the discussions
  11   A There were other reasons why these students felt    11      at the meetings and where they were -- I did not
  12      hurt which I detailed in this declaration. They    12     observe Mr. Kluge in class but --
  13       felt like they were being singled out and         13   Q Okay, you've answered my question.
  14      sometimes they felt that he would avoid calling    14   A -- I participated in what you described.
  15      on them to answer questions and sometimes he       15   Q And I don't want any more narratives, okay? I
  16       would use the first names of other students.      16      understand you're trying to add some things to
  17      And, so, in response to your question, if I was    17      the record but that's not helpful. All you're
  18      to say yes, that would almost just indicate that   18      doing is making the deposition longer than it
  19      it was only the names, him using last names that   19      needs to be.
  20      was causing them harm, but there were other        20         And you don't have any recollection of ever
  21      reasons based on his conduct during class that     21      reporting any of the claims made by students in
  22     made them upset.                                    22      the Equality Alliance Club to the Brownsburg
  23   Q But it all related to whether or not he             23      Community School Corporation EEO compliance
  24     identified them by their transgender names;         24     officer for investigation; correct?
  25     correct?                                            25   A Yeah, I can't recall specifically talking to

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   1   A Yeah, it would relate to that, yeah.                 1      them.
   2   Q You never visited one of Mr. Kluge's classes;        2         MR. CORK: I'm finished with Exhibit 35.
   3     right?                                               3      You mentioned wanting to get some lunch. Do you
   4   A I did not observe him teaching.                      4     want to take half an hour and get something?
   5   Q And you don't have any firsthand knowledge of        5          THE WITNESS: If that's okay, that would be
   6     any of the allegations made by Sam Willis or         6     great.
   7     Aidyn Sucec; right?                                  7          MR. CORK: That's fine. It's 1:46. We'll
   8   A Can you just repeat that question, please.           8     resume about 2:15.
   9   Q I said you don't have any firsthand knowledge of     9          (A lunch recess was taken.)
  10      any of Aidyn Sucec's or Sam Willis's allegations   10   DIRECT EXAMINATION CONTINUING,
  11       regarding Mr. Kluge; correct?                     11     QUESTIONS BY MICHAEL J. CORK:
  12          MR. LANOSA: Objection to form.                 12   Q Mr. Lee, we're back on the record. You
  13   A When you say allegations, can you elaborate,        13     understand you're still under oath; right?
  14     please?                                             14   A I do.
  15   Q By allegations I mean their claims regarding        15          MR. CORK: Diana, could we have Exhibit 6,
  16      Mr. Kluge's conduct in his orchestra class. You    16     please.
  17      never attended one so they were reporting things   17   Q Mr. Lee, Exhibit 6, the first page indicates
  18      to you that you didn't have firsthand knowledge    18     it's a partial response to a request for
  19     of; right?                                          19      production and you don't need to pay particular
  20   A It was clear at the meetings how they were being    20     attention to that. Look at the document that
  21     harmed. I would consider that to be firsthand       21     follows that green sheet.
  22     knowledge.                                          22   A Okay.
  23   Q Firsthand knowledge. Do you understand what         23   Q Which purports to be the policy manual of the
  24     firsthand knowledge is?                             24     Brownsburg Community School Corporation
  25   A Perhaps if you define that, then I can answer       25     Nondiscrimination and Equal Employment

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   1       the school corporation's initial response to        1       Equality Alliance Club and at that meeting
   2       Interrogatory 18 and then I had some back and       2       purportedly the assistant superintendent, Kat
   3       forth with Alex Pinegar.                            3       Jessup, appeared. And it goes on to indicate
   4          MR. LANOSA: Who is the school's lawyer, so       4       that someone named "unnamed students" addressed
   5       then the red is you and then the blue is BCSC's     5       Ms. Jessup regarding Mr. Kluge's use of last
   6     lawyer; is that right? I understand. Thank            6       names when addressing students. Do you recall
   7     you.                                                  7     that?
   8        MR. CORK: The last blue is from me.                8        MR. LANOSA: Objection to form.
   9   A So I've just finished reading the blue. Am I          9   A At the club meetings, the students at the
  10     reading this whole -- it seems like it's really      10       meetings, the club members, were pretty upset
  11     lengthy. Am I reading the whole thing?               11       with this and they would -- not just Aidyn and
  12   Q You may if you wish. There's not a need in my        12       Sam -- they would express how upset they were
  13     opinion. I intend to ask you questions about         13     about this, yes.
  14       the supplemental information that appears on the   14   Q Okay. My question was simply do you recall
  15       page you're looking at and by the bullet points.   15       that, and I guess by way of your answer you do;
  16   A Okay.                                                16     right?
  17   Q The last part of this are the original               17   A Yes.
  18     interrogatories in their entirety and you may        18   Q But you can't remember anybody other than Aidyn
  19     read it if you wish but I don't see any need.        19     Sucec and Sam Willis; right?
  20   A Did you say that the questions would relate to       20   A The specific names of the students, I can
  21     these bullet points? Did you just say that?          21       remember the name of a couple of students who
  22   Q Right.                                               22     were regulars who did.
  23   A Okay.                                                23   Q Who is that?
  24   Q Yes. So, whenever you're ready, I will ask           24   A One student called Andy Tharp.
  25     questions.                                           25   Q Andy Knob? Do you know how to spell Andy Knob's

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   1   A Okay. I want to read the bullet points.              1      name?
   2   Q Yes, please do.                                      2    A I don't know how to spell his last name. It's
   3   A Okay. I have finished reading the bullet             3        Andy but I can't remember the names of other
   4     points.                                              4        students, specific names, but Andy I do.
   5   Q Okay. Did you participate in providing the           5    Q    Okay. Was Andy a transgender student?
   6       supplemental information contained in the bullet 6      A    Yes.
   7       points to counsel for the school corporation? 7         Q    You can't recall anyone else; is that right?
   8             MR. LANOSA: I would object to the extent 8        A    Correct, the names.
   9       that calls for privileged information. You may 9        Q    The second bullet point refers to 20 to 25
  10        answer yes or no.                                10        separate occasions during the 2017/2018 school
  11             MR. LANOSA: Same objection.                 11        year in which various students who attended the
  12   A     Can you repeat the question again? I'm sorry. 12          Equality Alliance Club complained to you about
  13   Q    The question is if you participated in providing 13        Plaintiff's use of last names. Do you recall
  14       the supplemental information contained in the 14            those incidents?
  15        bullet points to the school corporation's        15    A They weren't specific. They were at the meeting
  16        attorney.                                        16        where students would complain about it at the
  17             MR. LANOSA: Same objection. I would 17                meeting, so it was like in general at those
  18        caution you not to reveal the substance of       18        meetings. Yes, I remember those complaints.
  19       conversations with the school's attorney. You 19        Q Do you recall who made the complaints besides
  20        may answer yes or no.                            20      Aidyn Sucec and Sam Willis?
  21   A     No.                                             21    A I don't remember the specific names of the
  22   Q     No, you did not participate. If you'd look at 22          students. It varied from meeting to meeting who
  23        the first bullet point, please.                  23      attended but generally the club members.
  24   A     Yes.                                            24    Q And the third bullet point indicates that you
  25   Q     It refers to a November 7, 2017 meeting of the 25         shared student complaints you were receiving

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   1       from the Equality Alliance Club meetings and you    1      Counselor? I think there's a difference between
   2     shared them at a faculty advisory committee           2      a faculty meeting and a faculty advisory
   3     meeting. Do you recall that?                          3      committee meeting and that might be where the
   4   A Is this the one that starts "Craig Lee met with       4      confusion is.
   5     Kat Jessup"?                                          5   Q This bullet point refers to one faculty advisory
   6         MR. LANOSA: Are you talking about the one         6     committee meeting.
   7     that begins "Craig Lee shared"?                       7   A Yes.
   8         MR. CORK: Yes, correct.                           8        MR. LANOSA: I think you said faculty
   9   A Oh, okay. Yeah, I remember. I remember -- I           9     meeting a moment ago.
  10       can't remember exactly when the meeting was but    10        MR. CORK: Yeah, okay. Yeah, I referred to
  11     I do remember that.                                  11     that as a faculty meeting.
  12   Q The information indicates that you didn't            12   Q There was just one meeting and at that meeting
  13     disclose the identities of students who              13      we've established that Bret Daghe you remember
  14       complained but you did relay their concerns and    14     being in attendance. You're not sure about
  15       his impressions based on their concerns. And       15     Stacey Lingelbaugh; correct?
  16     previously in the bullet point it indicates Bret     16   A Correct.
  17     Daghe and Stacey Lingelbaugh were two                17        MR. LANOSA: Objection to form.
  18     administrators at the meeting, so I take it you      18   A At that faculty advisory meeting.
  19     shared their complaints with them?                   19   Q And you did not disclose the identities of any
  20        MR. CORK: Objection to form.                      20      of the students who you claimed had complained
  21   A Can you repeat that question, please?                21     at the Equality Alliance Club meetings?
  22   Q Sure. Let me break it down. This bullet point        22   A I don't, as far as I remember, I did not share
  23       indicates that you shared student complaints you   23     their names.
  24       were receiving from Equality Alliance Club         24   Q Okay. As we sit here today, can you identify
  25       meetings and you shared the complaints at a        25     any of those students?

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   1       faculty advisory meeting. It doesn't indicate     1     A Which students? Are you talking about the ones
   2       exactly when the meeting, the faculty meeting,    2       at the club meetings who --
   3        took place, just that it occurred during the     3     Q The students who you claimed had alleged
   4       2017/'18 school year. And I asked you if you 4            complaints at the Equality Alliance Club
   5        recalled a meeting like that and I think you 5           meetings.
   6        said yes; is that right?                         6     A Pretty much all of the students present at the
   7   A     I recall that meeting, yeah.                    7        meetings were unhappy and complained about this
   8   Q    Okay. And do you recall Bret Daghe and Stacey 8           and I can't remember the students at the
   9        Lingelbaugh attending that meeting?              9        meetings' names other than Sam and Aidyn who
  10   A    I remember Bret being there. Stacey was usually 10       were two of the club leaders.
  11       at the meetings. I don't specifically remember 11       Q Okay. The fourth bullet point references a
  12       her being present but certainly Bret. Sometimes 12        meeting that you had with Kat Jessup, the
  13        there would be a different assistant            13       assistant superintendent, and the Human
  14        administrator present.                          14        Resources Director Jodi Gordon which occurred in
  15   Q    The supplemental information further indicates 15        approximately mid spring of 2018. Did you
  16        that you didn't disclose the identities of the 16        attend that meeting to the best of your
  17       students who complained at the faculty meeting; 17        knowledge?
  18        is that right?                                  18     A Yeah.
  19   A     Repeat that. I don't think I understood your 19       Q So you do recall that; right?
  20        question.                                       20     A Recall meeting them. I don't recall the content
  21   Q     At the faculty meeting you didn't disclose the 21        of the meeting or what the specifics were for us
  22       identity of the students who complained; is that 22        actually. We talked about what it describes
  23        right?                                          23        there but I can't remember anything else about
  24            MR. LANOSA: I think to clarify, you mean 24          that meeting.
  25        faculty advisory meeting; is that correct,      25     Q The bullet point information indicates that you

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   1      shared student complaints you had received          1   Q Second to last. It's the "At some point during
   2      throughout the year at Equality Alliance Club       2     the 2017-2018 school year." It indicates, just
   3      meetings and, again, that you didn't disclose       3     paraphrasing, that a student in your class
   4      the identities of the students who complained.      4     complained to you in passing that she did not
   5      Is that accurate to the best of your                5     agree with Plaintiff's use of last names. Do
   6      recollection?                                       6     you recall who that student is?
   7   A Well, I didn't write this. I can't remember the      7   A I don't remember the student's name.
   8     specifics about the meeting. It was very -- I        8   Q And you state further that you did recall that
   9      remember it being very informal. I remember it      9      she was a senior at the time and your impression
  10     being in the Media Center and I remember it         10     was that she did not attend Equality Alliance
  11     being at the end of the day. I don't remember       11     Club meetings and further that she was not a
  12     very much about the meeting at all.                 12     student of Plaintiff's. What do you mean --
  13   Q Okay. And, again, you didn't provide any of         13        MR. LANOSA: Objection to form.
  14     this information directly to counsel for the        14   A I believe it was a male student, so I didn't
  15     school corporation; right?                          15     type this, I didn't type this paragraph, so I
  16        (Zoom malfunction and a recess was taken.)       16      don't know if something was misheard but it was
  17         MR. LANOSA: Craig didn't answer the             17     a male student.
  18     question, I don't think, so maybe the best thing    18   Q A male student as opposed to a female?
  19     to do would be to reask it and if I have an         19   A Yeah. But a student did approach me as
  20     objection, I'll make it again.                      20     described.
  21         (The reporter read back the previous            21   Q And you indicate that it was your impression
  22     question.)                                          22     that the student did not attend the Equality
  23   A I don't recall specifically when I said this. I     23      Alliance Club meetings. What did you mean by
  24     met with Mr. Borg.                                  24      impression?
  25         MR. LANOSA: I would caution the witness         25        MR. LANOSA: Objection to form.

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   1      not to reveal the substance of his                  1   A I had never seen this particular student at a
   2      communications with counsel, but you can answer     2      Equality Alliance meeting before. That's what I
   3     whether or not you provided information as           3     meant.
   4     reflected in this document.                          4   Q Was it also your impression that the student was
   5   A Oh, okay. Yes.                                       5     not one of Plaintiff's students?
   6   Q Let's approach it this way, Mr. Lee. Previously      6   A I cannot remember who the student was.
   7     I asked whether you provided any of the              7   Q No. You indicate that the student who allegedly
   8     information contained in this supplemental           8     complained was not a student of Plaintiff's
   9      response to counsel and your attorney told you      9     meaning Mr. Kluge.
  10      you should only answer yes or no and you           10   A Oh.
  11      indicated that you did not provide this            11         MR. LANOSA: Objection to form. Just to be
  12      information. Now I'm hearing you say that you      12     clear, I believe you said you didn't write this
  13     did provide this information; is that right?        13     document; correct?
  14   A When you first asked the question I couldn't        14         THE WITNESS: Correct.
  15      remember. In the last couple of minutes when I     15   A The student that complained was one of my
  16     recall, I believe that I did share what is in       16     students and also they said they were in
  17     the bullet point.                                   17     Mr. Kluge's class.
  18   Q Do you recall when?                                 18   Q In Mr. Kluge's class?
  19   A When I said this?                                   19   A Correct.
  20   Q No. Do you recall when you shared the               20   Q But this indicates that it was not a student in
  21     information?                                        21     Plaintiff's class.
  22   A I can't remember when I said this or when the       22   A I couldn't remember you actually saying what you
  23     meeting was.                                        23     just said. I think when you said Plaintiff, I
  24   Q Let's go to the fifth bullet point, please.         24     think of the plaintiffs -- and this is my lack
  25   A Can you tell me what it starts with?                25      of knowledge with legal speak -- I think of the

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   1       school corporation or Mr. Willis or Mr. Sucec.      1      passing. It wasn't during class. It was after
   2       Again, my lack of knowledge, my naivety with        2      the bell had gone that they approached me and
   3       legal terms. When you say "Plaintiff,"              3      they told me -- they were sharing basically --
   4       obviously now I realize you're saying               4      well, confused, I think, as to seemingly some
   5       Mr. Kluge's class. This student was a student       5      kind of name policy for Mr. Kluge and they told
   6       in Mr. Kluge's class. I apologize for my error.     6      me that it made them feel very uncomfortable,
   7   Q No, I'm not picking at you.                           7      that everybody in his class knew that he had
   8   A Yeah, okay. Yeah, it was a student in                 8      some kind of reason and it related to the
   9     Mr. Kluge's class.                                    9      transgender students in his class and they felt
  10   Q But this indicates that the student was not a        10      really bad for those transgender students
  11     student of Mr. Kluge. So this is incorrect;          11      because of how he was -- basically how he was
  12     right? This bullet point, the last --                12     conducting himself in the class.
  13   A Right, right. Yeah, the student that came and        13   Q Did you have any discussion about that issue
  14     complained to me was a student and, again, I         14     during your class, during your sociology or
  15       didn't write this document but it was a student    15     government class?
  16       that was in Mr. Kluge's class and obviously in     16   A No.
  17     my class, too.                                       17   Q And had you previously discussed this issue with
  18   Q Right. And you think did not attend the              18     the student in question on another occasion?
  19     Equality Alliance Club?                              19   A No.
  20   A I had never seen this student at an Equality         20   Q How is it that this student at the end of the
  21     Alliance meeting.                                    21     class decided to talk to you about that?
  22   Q Okay. But you can remember all that but you          22   A I have I guess my colleagues call it a
  23     can't remember the identity of the student?          23     reputation for students feeling comfortable
  24   A I have about 300 students a year that ask me         24     talking to me about a variety of different
  25     questions or they might share things about           25     issues. I think they just feel I can be

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   1       various things they experience in school, and,      1      approached or I'm approachable. I think that's
   2       so, no.                                             2      why or I'd like to think that was why, but they
   3   Q    The final bullet point. Let's go back. The         3     felt comfortable sharing that.
   4       fifth bullet point. There was a student in your     4   Q The 6th and last bullet point refers generally
   5       class but instead of a she, it was a he; right?     5      to various occasions throughout the 2017/2018
   6   A    Correct.                                           6      school year and it indicates that your
   7   Q    And you don't think the student attended           7      colleagues would complain to you about Kluge's
   8       Equality Alliance Club meetings?                    8     use of last names when addressing students.
   9   A    I had never seen this student at an Equality       9   A Yes, I see that.
  10       Alliance meeting before.                           10   Q Okay. "Various occasions" is not very specific.
  11   Q    Okay. And the student was a student of            11     Do you recall how often that occurred?
  12       Mr. Kluge as opposed to not being a student of     12   A It was throughout the year. I can't tell you
  13       Mr. Kluge's; correct?                              13      how many times like a week or something it was,
  14   A    That is correct. They told me they were in his    14      but they had -- yeah, so I can't remember
  15       class.                                             15      specifically how often it was but they would ask
  16   Q    And do you recall anything about the              16     out of concern for the students' welfare.
  17       conversation that you describe as a complaint in   17   Q The colleagues are identified as Jason Gill,
  18       passing that the student didn't agree with         18      Melinda Lawrie, and Justin Bretz. Who are they?
  19       Kluge's use of last names when addressing          19   A They are teachers that teach on the same floor
  20       students?                                          20     of the building where I teach.
  21          MR. LANOSA: Objection to form.                  21   Q They're not teachers in the same area as
  22   A I can describe in passing. At the end of class       22     Mr. Kluge; right?
  23       often when the bell goes, students will approach   23   A Correct.
  24       me or their teacher for a number of different      24   Q Do you recall specifically what they said to you
  25       reasons and so that's what I mean when I say in    25     or just, as you describe, more generally?

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   1   A It was concern that students talk to each other,     1       an e-mail and then Page 3 begins with
   2     students share things in all different classes       2       Defendant's Responses to Plaintiff's First Set
   3     about things that are happening in the school,       3       of Interrogatories.
   4      and I think when students had basically -- they     4           MR. CORK: Okay. I have an e-mail to me
   5      had heard or heard students talking that they       5       from Brent simply indicating that the first two
   6      relayed or just basically would ask me, like        6       pages are supplements to Plaintiff's
   7      would tell me that this was, you know, they felt    7       Interrogatory 7 and Request for Production 7.
   8      very strongly that this was harming students,       8           MR. BORG: Michael, if it helps for the
   9      not just Sam and Aidyn but just students in         9       record, I have no reason to dispute that. I do
  10      general who would potentially be in Mr. Kluge's    10       know that the e-mail that's, I believe, at the
  11     class.                                              11       first two pages of this exhibit was a supplement
  12   Q Did any of the three colleagues identified tell     12     to BCSC's discovery responses.
  13      you that they had visited Mr. Kluge's class and    13        MR. CORK: Okay. And the interrogatories
  14     witnessed this firsthand?                           14     and I'm guessing the request for productions
  15   A No.                                                 15     were attached to that as well. That's the
  16   Q Mr. Lee, I believe you still have control of the    16     reason they're attached to this.
  17     mouse; is that correct?                             17   A So am I, just to clarify, am I reading from
  18   A Yes, I think so. Yep.                               18     where it begins "Hi Bret" to where it ends for
  19   Q Would you, please, go up to the bar at the top      19     "Cheers for now Craig"?
  20     and click on Plaintiff's Dep Exhibit 33.            20   Q My interest in Exhibit 33 is only the first two
  21   A Yes.                                                21       pages that are marked Brownsburg 248 and 249.
  22   Q Exhibit 33 is a three-page document. The big        22   A    Okay. Just let me take a moment.
  23     black rectangle at the top was redacted by          23   Q    Go ahead and read through that.
  24      counsel for the school corporation under claim     24   A    Okay.
  25      that it contains attorney/client privileged        25   Q    I will not be asking you any questions about

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   1      information.                                        1     anything else that's attached.
   2         MR. LANOSA: I would just note for the            2   A Okay. Okay. I have read that document or those
   3      record the document appears to have seven pages.    3     two pages I should say.
   4          MR. CORK: Seven?                                4   Q Did you draft this e-mail to Dr. Daghe --
   5          MR. LANOSA: At least the PDF based on the       5   A I did.
   6      little numbers at the top.                          6   Q -- on the date indicated, August 29th of 2017?
   7   A Yeah, I think there are seven pages here. Am I       7   A Yes.
   8     looking at one document here or both of these?       8   Q Do you recall receiving any kind of a response
   9   Q Go ahead. I think that this contains the -- go       9     from Dr. Daghe?
  10     ahead and scroll down through that, please.         10   A I can't recall receiving a response. That's not
  11   A Okay. Both documents or just the first one?         11     to say I didn't. I can't recall receiving a
  12   Q Well, go through the first three pages and I        12     response.
  13     believe this has the referenced interrogatory       13   Q Your e-mail doesn't identify any teacher by name
  14      responses attached to it because the third page    14     but it seems to refer to Mr. Kluge. Is that
  15      of this is an e-mail to me from Brent Borg         15     accurate?
  16      indicating that the first two pages are            16   A That's accurate.
  17      supplements to Interrogatory No. 7 on Request      17         MR. LANOSA: Objection to form. It appears
  18     for Production No. 7.                               18       the document refers to multiple teachers. Are
  19   A Okay. So I've read from "Hi Bret" --                19     you referring to the part that begins No. 1?
  20         MR. LANOSA: Can you just scroll down to         20   Q Paragraph 1 and Paragraph 2. The first
  21     the third page, Craig?                              21     paragraph talks about a student who had their
  22         MR. CORK: Yeah, go ahead and go through         22       name changed in PowerSchool and it goes on to
  23     it.                                                 23       state that the teacher refuses to call the
  24         MR. LANOSA: So I don't see an e-mail from       24       student by their new name and Paragraph 2 refers
  25     Brent. It appears that the first two pages are      25       to students going through the process of having

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